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__________________________________________________________________
                                              SO ORDERED,




                                              Judge Jamie A. Wilson
                                              United States Bankruptcy Judge
                                              Date Signed: June 28, 2023


            The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:         BISON LAND & MINERALS, LLC                     CASE NO.         23-01140-JAW

               DEBTOR(S)                                      CHAPTER          11


                              AGREED SCHEDULING ORDER


       THIS DAY THIS CAUSE came on for consideration of the joint ore tenus motion of the

United States Trustee (“UST”) and Debtor Bison Land & Minerals, LLC, for approval of the

parties’ Agreed Scheduling Order pursuant to 28 U.S.C. § 586(a)(7)(A)(iv), and the Court having

duly considered the matter hereby finds that said ore tenus motion is well taken and should be

granted; therefore,

       IT IS ORDERED that the Debtor(s) shall maintain insurance customary and appropriate

to the Debtor(s)’ industry and/or as required by law. The UST shall be noted as a party of notice

on all insurance policies maintained by the Debtor(s).

       IT IS FURTHER ORDERED that the Debtor(s) shall timely file all tax returns and other

required government filings and timely pay all taxes entitled to administrative expense priority

except those being diligently contested by appropriate proceedings.




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       IT IS FURTHER ORDERED that the Debtor(s) shall timely file with the Court and

submit to the UST monthly operating reports (“MOR”) in accordance with the UST’s Chapter 11

Operating Guidelines and Reporting Requirements (“OGRR-11”) until such time as the case is

closed, or the case is converted, or the case is dismissed.

       IT IS FURTHER ORDERED that the Debtor(s) shall on or before August 14, 2023, file

a confirmable subchapter V plan as set forth in 11 U.S.C. § 1189, § 1190, and § 1191.

                                      ##END OF ORDER##

AGREED TO AS TO FORM AND CONTENT:

/s/Craig M. Geno (with permission)
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